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                     EXHIBIT F
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                          ​   ​       ​        ​       ​     ​          U.S. General Services Administration
                                                                        3/31/2025



             MEMORANDUM FOR:​                  DR. ALAN M. GARBER
             ​   ​   ​    ​                    PRESIDENT
                                               HARVARD UNIVERSITY
                                               OFFICE OF THE PRESIDENT
                                               MASSACHUSETTS HALL
                                               CAMBRIDGE, MA 02138

                                               PENNY PRITZKER
                                               LEAD MEMBER, HARVARD CORPORATION
                                               HARVARD CORPORATION
                                               MASSACHUSETTS HALL
                                               CAMBRIDGE, MA 02138

             FROM: ​                      ​    JOSH GRUENBAUM
                                               COMMISSIONER, FEDERAL ACQUISITION SERVICE​
                                          ​    U.S. GENERAL SERVICES ADMINISTRATION (GSA)

             SUBJECT: ​ ​             ​        Review of Federal Government Contracts

             Pursuant to President Trump’s Executive Order, “Additional Measures to Combat
             Anti-Semitism”, on February 3, 2025, a multi-agency Task Force to Combat
             Anti-Semitism was created, consisting of the Departments of Justice, Education, Health
             and Human Services, and the General Services Administration. GSA is leading a Task
             Force comprehensive review of Federal contracts with certain institutions of higher
             education that are being investigated for potential infractions and dereliction of duties to
             curb or combat anti-Semitic harassment, including Harvard University.

             In light of this review, the Federal Government is ready to work with each appropriate
             contracting agency on the potential issuance of Stop Work Orders for all contracts
             identified in the attached schedule, which total $255.6 million of contract ceiling value. In
             addition, we are requiring you to send a list of all other contracts between the Federal
             Government and Harvard University or its affiliates which are not listed on the schedule
             to GSA’s Federal Acquisition Service Commissioner and Task Force member, Josh
             Gruenbaum. Commissioner Gruenbaum will lead GSA’s review. All materials should be
             sent to: universitycontracts@gsa.gov. Please be advised that alongside our fellow
             agencies, we will also be reviewing the greater than $8.7 billion of multi-year grant
             commitments between Harvard University, its affiliates and the Federal Government for
             potential compliance concerns, false claims or other infractions.
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             The Federal Government reserves the right to terminate for convenience any contracts
             it has with your institution at any time during the period of performance. Additionally, the
             Federal Government reserves the right to take any relevant administrative action it
             deems necessary in response to any wrongdoing identified during the pendency of the
             investigations.
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                                                  Harvard University Contracts

                                    PIID                                              Total

                             75N93019C00071                                      $59,780,198.00
                             75D30123C15938                                      $35,974,963.35
                             75D30122C13330                                      $24,899,418.92
                             75N93020C00038                                      $24,785,826.00
                             75A50123F61001                                      $15,160,532.00
                             75N93018C00047                                      $13,600,565.07
                             75N93019C00044                                      $10,921,287.73
                             75N92022F00004                                      $8,878,380.66
                             75N93024C00020                                      $8,330,482.00
                             H9240523C0009                                       $8,000,000.00
                             75N95023C00008                                      $6,000,000.00
                             75N92023F00002                                      $5,328,657.65
                             75F40124F19004                                      $4,725,363.72
                             75N93023C00040                                      $3,300,145.00
                             75A50124F61002                                      $3,196,979.25
                             36C24123C0107                                       $3,183,776.76
                             75N92023F00004                                      $2,828,859.60
                             75D30124C18869                                      $2,333,872.00
                             75N95022C00011                                      $1,283,262.00
                             75N92023F00005                                      $1,153,450.00
                             75F40124C00128                                       $978,324.00
                             36C24123C0010                                        $965,701.00
                             36C24E24N0164                                        $901,303.84
                             1332KP24C0023                                        $749,987.00
                             75H70625F03015                                       $733,936.08
                             75N95024P00263                                       $700,106.00
                             36C24E23C0010                                        $693,667.00
                             75N91024C00050                                       $624,994.00
                             75N92024F00003                                       $593,049.59
                             HQ003421P0116                                        $527,008.00
                             75F40121C00195                                       $523,446.46
                             75N92024F00001                                       $454,782.87
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                                    PIID                                             Total

                             75P00122P00130                                     $450,000.00
                             HR001124F0472                                      $393,316.00
                             1305M324P0353                                      $250,000.00
                             36C24E24C0020                                      $249,369.84
                             61320624N0021                                      $240,000.00
                             36C24125N0584                                      $200,000.00
                             75N92024F00002                                     $198,248.23
                             36C24E23P0093                                      $176,364.70
                             N0622A25F00M9                                      $175,576.00
                            693JK424P600056                                     $150,734.00
                             36C24124P1077                                      $133,437.84
                             75N92020P00316                                     $105,616.00
                             36C24124P0799                                      $95,468.00
                             36C24124N0860                                      $95,196.00
                             36C24125N0450                                      $95,196.00
                             36C26224P2055                                      $74,860.00
                           33131225P00515580                                    $63,601.64
                             HQ003424P0162                                      $52,500.00
                             75N91024P00647                                     $49,852.00
                             36C24124N0918                                      $45,755.00
                           33131225P00515921                                    $32,550.00
                           33312724P00511562                                    $32,000.00
                             36C24124N0861                                      $27,356.00
                             80NSSC24PC295                                      $25,800.00
                          70RDA225P00000009                                     $25,800.00
                             75N91024P00712                                     $19,425.00
                            693JK425P600004                                     $18,600.00
                             75N95024K00002                                     $16,000.00
                           720SEC25PC00016                                      $11,200.00
                             123A9425P0002                                      $10,500.00
                             36C24125N0008                                      $10,000.00
